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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )
                                                  )      Crim. No.: 6:13-CR-20-GFVT-HAI-26
 V.                                               )
                                                  )
 JASON WADE TAYLOR,                               )                     ORDER
                                                  )
         Defendant.                               )
                                                  )


                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition (“R&R”) of United

States Magistrate Judge Hanly A. Ingram. [R. 1115.] Defendant Jason Wade Taylor was

charged with violating his supervised release in a Supervised Release Violation Report dated

May 5, 2017 and a subsequent addendum issued May 26, 2017. [Id. at 1.]

       Defendant’s supervised release term began on July 27, 2016, and this is the first time he

has violated. [Id.] He is charged with five violations. Defendant’s violations all stem from

various illegal behavior around drugs. [See id. at 3.] Violation One is for associating with a

person engaged in criminal activity; Violations Two are Three are for committing another

federal, state, or local crime; Violation Four is for Defendant not notifying his probation officer

after he arrested and questioned by law enforcement; and Violation Five from the Report

addendum is for committing another federal, state, or local crime.

       At a hearing on June 20, 2017, the parties agreed to the Defendant stipulated to the

Violations One, Two, Four, and Five. [Id. at 4.] The parties did not agree to the sentence to be
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imposed. [R. 1115 at 5.]

       Upon evaluation of the entire record, Magistrate Judge Ingram issued an R&R

recommending dismissing Violation Three at the motion of the United States; revocation and

reincarceration for a term of eighteen (18) months; and supervised release with the same

conditions previously imposed to follow imprisonment for three (3) years from the date of

release. [Id. at 10.] Defendant has not waived his right to allocution, but has not objected to the

R&R.

       Generally, this Court must make a de novo determination of those portions of a

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s recommended disposition are also barred

from appealing a district court’s order adopting that report and recommendation. United States

v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the record and it

agrees with the Magistrate Judge’s Recommended Disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Magistrate’s Recommended Disposition [R. 1115] as to Jason Wade Taylor

is ADOPTED as and for the Opinion of the Court;

       2.      Mr. Taylor is found to have violated the terms of his Supervised Release as set

forth in the Petition filed by the United States Probation Office and the Recommended

Disposition of the Magistrate Judge;

       3.      Mr. Taylor’s Supervised Release is REVOKED;


                                                 2
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        4.      Mr. Taylor is hereby sentenced to a term of incarceration of eighteen (18)

months;

        5.      Mr. Taylor will be under Supervised Release for three (3) years from the date of

release under the same conditions previously imposed;

        6.      Violation Three is DISMISSED; and

        7.      Upon release from custody, USPO will evaluate Defendant for drug abuse

treatment in its discretion.

        This the 6th day of July, 2017.




                                                 3
